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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA


MICHAEL BAHAS                    )                  CIVIL ACTION NO.
                                 )
                 Plaintiff,      )
                                 )                  COMPLAINT
      vs.                        )
                                 )
LAW OFFICES OF ED OVERCASH, )                       JURY TRIAL DEMAND
LLC                              )
                                 )
                 Defendant.      )
_________________________________)

                                NATURE OF ACTION

       1.      This is an action brought under the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                             JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, (where Plaintiff resides in this district), and/or where Defendant transacts

business in this district.

                                       PARTIES

       4.      Plaintiff, Michael Bahas (“Plaintiff”), is a natural person who at all

relevant times resided in the State of South Carolina, County of Greenville, and

City of Greenville.

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       5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       6.     Defendant, Law Offices of Ed Overcash, LLC (“Defendant”) is an

entity who at all relevant times was engaged, by use of the mails and telephone, in

the business of attempting to collect a “debt” from Plaintiff, as defined by 15

U.S.C. §1692a(5).

       7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

       8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

       9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant, arises from a transaction in

which the money, property, insurance, or services that are the subject of the

transaction were incurred primarily for personal, family, or household purposes.

Plaintiff incurred the obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant.

       10.    Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       11.    In connection with collection of an alleged debt in default,

Defendant called Plaintiff’s residential telephone on or about May 20, 2011, and at



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such time, Defendant’s agent and/or employee “Rex Ball,” informed Plaintiff that

he was an attorney.

       12.      Plaintiff challenged Mr. Ball’s status as an attorney and Mr. Ball

eventually admitted that he was not an attorney.

       13.      Referencing his earlier assertion of being an attorney, Mr. Ball

stated, “No, I’m just joking, but it’s how we get people on the phone to talk to us.”

       14.      Plaintiff received a Summons on or about August 11, 2011, and at

such time, Plaintiff called Defendant and spoke with Defendant’s agent and/or

employee “Daniel.”

       15.      Daniel informed Plaintiff that there would be no mediation of the

case, that there was no date scheduled requiring Plaintiff’s appearance, that

Defendant was pursuing a default judgment, and the Summons was sent “just to

dot the I’s and cross the T’s.”

       16.      Defendant called Plaintiff’s cellular telephone on August 16, 2011 at

7:57 P.M., and at such time, left the following voicemail message:

             “Hi, Michael. This is Rex Ball, calling you from the law
             office here in Greenville. Time sensitive that you return the
             call. This go ahead and deserve your prompt attention to be
             addressed to 864-298-1139. 864-298-1139. Michael, please
             take the time out of your day, on the receipt of this message,
             to return the phone call. Thank you so much.”

       17.      In its voicemail message of August 16, 2011, Defendant failed to

disclose its true corporate and/or business name.




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       18.      In its voicemail message of August 16, 2011, Defendant further

failed to notify Plaintiff that the communication was from a debt collector.

       19.      Defendant’s August 16, 2011 voicemail communication was

intended to convey a false sense of urgency for the purpose of compelling Plaintiff

to communicate with a debt collector.

       20.      In connection with the collection of Plaintiff’s alleged debt,

Defendant’s agent and/or employee “Rex Ball” called Plaintiff on or about August

18, 2011, and at such time the following voicemail message:

             “Hi Michael this is an important matter for you that requires
             your attention, your prompt attention to be addresses in the
             law office speak with me, Rex Ball, a direct office line, 864-
             298-1139, 864-298-1139 Michael when you receive this
             message please take the time out of your day to return the
             phone call. Thank you.”

       21.      In its voicemail message of August 18, 2011, Defendant failed to

disclose its true corporate and/or business name.

       22.      In its voicemail message of August 18, 2011, Defendant further

failed to notify Plaintiff that the communication was from a debt collector.

       23.      Defendant’s August 18, 2011 voicemail communication was

intended to convey a false sense of urgency for the purpose of compelling Plaintiff

to communicate with a debt collector.

       24.      Defendant’s actions constitute conduct highly offensive to a

reasonable person.




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                                   COUNT I
                         VIOLATION OF 15 U.S.C. § 1692d(6)

         25.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         26.      Defendant violated 15 U.S.C. § 1692d(6) by failing to disclose

Defendant’s true corporate and/or business name in a telephone call to Plaintiff.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692d(6);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.

                                  COUNT II
                         VIOLATION OF 15 U.S.C. § 1692e(3)

         27.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         28.      Defendant violated 15 U.S.C. § 1692e(3) by falsely representing that

an individual, Defendant’s agent and/or employee “Rex Ball,” is an attorney.

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         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692e(3);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.

                                  COUNT III
                         VIOLATION OF 15 U.S.C. § 1692e(10)

         29.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         30.      Defendant violated 15 U.S.C. § 1692e(10) by using false

representations and deceptive practices in connection with collection of an alleged

debt from Plaintiff.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;


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               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.

                                  COUNT IV
                         VIOLATION OF 15 U.S.C. § 1692e(11)

         31.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         32.      Defendant violated 15 U.S.C. § 1692e(11) by failing to notify

Plaintiff during each collection contact that the communication was from a debt

collector.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692e(11);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action;




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         e) Awarding Plaintiff any pre-judgment and post-judgment interest as

            may be allowed under the law;

         f) Awarding such other and further relief as the Court may deem just

            and proper.

                               TRIAL BY JURY

   33.      Plaintiff is entitled to and hereby demands a trial by jury.


   DATED this 8th day of December, 2011.


                                         Respectfully submitted,

                                         /s/ Holly E. Dowd
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